                 IN THE SUPERIOR COURT FOR THE STATE OF ALASKA

                        THIRD JUDICIAL DISTRICT AT ANCHORAGE

WILLIAM R. LARSON,                                         )
                                                           )
        Plaintiff,                                         )
                                                           )
        vs.                                                )
                                                           )
ALASKA AIR NATIONAL GUARD;                                 )
OFFICE OF THE ADJUTANT GENERAL;                            )
STATE OF ALASKA, DEPARTMENT                                )
OF MILITARY & VETERANS AFFAIRS;                            )
VERN CORDELL; KEVIN BROWN; and                             )
SCOTT CONIGLIO,                                            )
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                                               COMPLAINT

        COMES NOW plaintiff, William R. Larson, by and through his

counsel of record, Hozubin, Moberly, Lynch & Associates, and

complains and alleges against the defendants, and each of them,

as follows:

        1.      Plaintiff is a resident and inhabitant of the State of

Alaska, Third Judicial District.

        2.      According to plaintiff's best information and belief,

defendant Vern Cordell is a resident and inhabitant of the State

of Alaska, Third Judicial District.

        3.      According to plaintiff's best information and belief,

defendant Kevin Brown is a resident and inhabitant of the State

of Alaska, Third Judicial District.




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      4.     According to plaintiff's best information and belief,

defendant Scott Coniglio is a resident and inhabitant of the

State of Alaska, Third Judicial District.

      5.     Defendants Alaska Air National Guard, the Office of

the Adjutant General, and the State of Alaska, Department of

Military and Veterans Affairs, conduct business in Alaska.

      6.     All events relevant to the causes of action of this

Complaint occurred in the Third Judicial District.

      7.     William Larson was a member of the Alaska Air National

Guard for 26 years.      During the time of the events relevant to

the causes of action of this Complaint, Mr. Larson was a dual

status     (military and civilian) National Guard technician.

      8.     On or around December 10, 2012, Mr. Larson returned to

work at Joint Base Elmendorf Richardson        (JBER) after having

reconstructive surgery on his right foot/ankle to correct a

prior injury.     His foot was in a cast, and he had to use

crutches.     He was on mandatory light duty status for two months

following his surgery.       Because of his light duty status, he

requested to be placed in the Aircraft Maintenance Complex (AMC)

for desk duty.     The AMC had a safety handicap ramp from the

parking lot to the building.        Instead, his supervisor, Kevin

Brown, placed him in Hangar 18, which required traversing 165

yards through water, snow, ice, and de-ice fluid to get to his



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office.     It also required walking up and down flights of stairs

with his crutches.      Brown dismissed Mr. Larson's request to move

to AMC.     Mr. Larson's commander, Scott Coniglio, approved this

dismissal.

      9.     On or around December 13, 2012, Mr. Larson slipped and

fell on water, snow, ice, and de-ice fluid while walking to his

designated work area.      The resulting post-traumatic injury

destroyed the ankle stabilization surgery, fractured the foot

bone, and partially tore the screws out from the bone.           Despite

the re~injury to Mr. Larson's foot and ankle, his supervisors,

Vern Cordell, Kevin Brown, and Scott Coniglio, continued to

require him to traverse the difficult weather conditions for the

remainder of the winter.

      10.    Mr. Larson's re-injury caused him to miss several days

of work during the winter of 2013.           He also missed several drill

weekends due to his injury.        Beginning in May 2013, Cordell,

Brown, and Coniglio began encouraging Mr. Larson to voluntarily

resign from his job.      On May 15, 2013, Mr. Larson removed the

cast and his doctor determined that the damage to his foot and

ankle was permanent.

      11.    Cordell, Brown, and Coniglio called Mr. Larson's

doctor's office and impersonated him in order to retrieve

information on the severity of his injury.           They issued him non-



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participation letters for voluntarily failing to attend drill

weekends even though he could not physically perform these

activities.    They further issued him a proposed 15-day

suspension without pay for taking time off work to heal.         They

further issued him a letter of reprimand for failure to perform

the physical training test even though he could not physically

perform this duty and had proper documentation stating as much.

      12.   On October 4, 2014, Mr. Larson was discharged from the

National Guard because he was medically unfit to continue

military service.     Mr. Larson will lose his civilian National

Guard technician position pending review of his disability

retirement application.       His last day is scheduled to be

December 12, 2014.

      13.   Because of the permanent damage to his foot and ankle,

Mr. Larson no longer has the same quality of life.          He is unable

to longer enjoy the outdoor activities he became accustomed to

growing up in Alaska.

                                   COUNT I
                                 NEGLIGENCE

      14.   Plaintiff hereby realleges and incorporates paragraphs

1 through 13 of this Complaint into this first cause of action.

      15.   Defendants owed a duty to observe plaintiff's light

duty work status after returning to work from surgery.

Defendants breached this duty by failing to provide plaintiff


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with reasonable working conditions, by forcing plaintiff to

traverse 150 yards of snow and ice while requiring the use of

crutches, and by continuing to force plaintiff to work under

these conditions after his initial slip and fall.

      16.   As a result of defendants' negligence in breaching

this duty, plaintiff incurred permanent injury of his

foot/ankle; medical expenses in the past, present, and future;

past, present, and future non-economic damages including

physical and emotional pain and suffering; loss of full

enjoyment of life; and other damages to be proven at trial.

                              COUNT II
      INTENTIONAL/NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

      17.   Plaintiff hereby realleges and incorporates paragraphs

1 through 16 of this Complaint into this second cause of action.

      18.   Defendants owed a duty to observe plaintiff's light

duty work status after returning to work from surgery.

Defendants breached this duty by failing to provide plaintiff

with reasonable working conditions, by forcing plaintiff to

traverse 150 yards of snow and ice while requiring the use of

crutches, and by continuing to force plaintiff to work under

these conditions after his initial slip and fall.

      19.   Defendants' breach of the duty owing to plaintiff

amounts to extreme and outrageous conduct.         Defendants

intentionally,    recklessly, or negligently breached this duty.


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         20.    As a result of defendants'   intentional, reckless,

and/or negligent breach of this duty, plaintiff has suffered

severe emotional distress.

                                   COUNT III
               TORTIOUS INTERFERENCE WITH BUSINESS RELATIONSHIP

         21.    Plaintiff hereby realleges and incorporates paragraphs

1 through 20 of this Complaint into this third cause of action.

         22.    Plaintiff had an employment contract with the Air

National Guard as a dual status National Guard technician.

         23.    Defendants knew of this employment contract and

intended to and did induce breach through their wrongful conduct

toward plaintiff.

         24.    Defendants' conduct toward plaintiff was not

privileged or justified.

         25.     As a result of defendants' conduct, plaintiff

incurred the loss of his employment with the National Guard, and

other damages to be proven at trial.

                                   COUNT IV
                           HOSTILE WORK ENVIRONMENT
                         (VIOLATION OF AS 18.80.220)

         26.    Plaintiff hereby realleges and incorporates paragraphs

1 through 25 of this Complaint into this fourth cause of action.

Defendants owed a duty to supervise plaintiff's supervisors.

         27.    Defendants subjected plaintiff to what a reasonable

person would perceive as a hostile or abusive work environment.


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Plaintiff perceived the environment as abusive.          Defendants'

conduct has forced plaintiff's premature discharge from the

National Guard and caused the loss of his National Guard

civilian technician position.

                                 COUNT V
               VIOLATION OF PRIVACY ACT (5 U.S.C. § 552a)

      28.     Plaintiff hereby realleges and incorporates paragraphs

1 through 27 of this Complaint into this fifth cause of action.

The Alaska Air National Guard,       the Office of the Adjutant

General, and the State of Alaska,        Department of Military &

Veterans Affairs, owed a duty to supervise plaintiff's

supervisors.

      29.     Defendants Vern Cordell, Kevin Brown and Scott

Coniglio violated the Privacy Act when they impersonated

plaintiff to obtain his medical records without his consent.

                                COUNT VI
            VIOLATION OF REHABILITATION ACT (29 U.S.C. § 794)

      30.     Plaintiff hereby realleges and incorporates paragraphs

1 through 29 of this Complaint into this sixth cause of action.

      31.     Plaintiff was a person with a disability due to his

initial reconstructive surgery in the fall/winter of 2012.

      32.     After that surgery, plaintiff could not perform the

major life activity of walking without the aid of crutches.




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     33.    In forcing plaintiff to traverse 150 yards through

inclement conditions while wearing a cast and using crutches,

defendants failed to provide plaintiff with reasonable

accommodations.       Defendants could have provided reasonable

accommodation without undue hardship to them.

      34.   As a result of defendants' violation of the

Rehabilitation Act, plaintiff incurred permanent injury of his

foot/ankle; medical expenses in the past, present, and future;

past, present,       and future non-economic damages including
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physical and ,motional pain and suffering; loss of full

enjoyment of life; and other damages to be proven at trial.

                                  COUNT VII
                            NEGLIGENT SUPERVISION

      35.   Plaintiff hereby realleges and incorporates paragraphs

1 through 34 of this Complaint into this seventh cause of

action.

      36.   The Alaska Air National Guard,       the Office of the

Adjutant General, and the State of Alaska, Department of

Military & Veterans Affairs, owed a duty to supervise

plaintiff's supervisors.        Defendants breached this duty by

failing to supervise plaintiff's supervisors.

      37.   As a result of defendants'       negligence ln breaching

this duty, plaintiff incurred permanent injury of his

foot/ankle; medical expenses in the past, present, and future;


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past,     present,    and future non-economic damages including

physical and emotional pain and suffering; loss of full

enjoyment of life; and other damages to be proven at trial.

         WHEREFORE, plaintiff prays for judgment in his favor

against defendants,        and each of them,   for the following:

         1.      Compensatory damages to be proven at trial in a sum

within the jurisdiction of the superior court for the State of

Alaska;

         2.      For punitive damages;

         3.      For pre-judgment and post-judgment interest, costs,

and attorney fees;        and

         4.      For any other relief this Court deems just and

equitable.



         DATED    this~ day of December 2014.
                                HOZUBIN, MOBERLY, LYNCH & ASSOCIATES
                                Attorneys for Plaintiff
                                William R. Larsen




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